 Case 2:19-cv-01717-RGK-AGR Document 91 Filed 10/23/19 Page 1 of 3 Page ID #:977

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 19-1717-RGK (AGRx)                                          Date   October 23, 2019
 Title             Alex Morgan, et al. v. United States Soccer Federation, Inc.




 Present: The                     Alicia G. Rosenberg, United States Magistrate Judge
 Honorable
                 Karl Lozada                             XTR 10/23/2019                          N/A
                 Deputy Clerk                        Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Diana Hughes Leiden                                   Chantelle C. Egan
                     Jeanifer E. Parsigian
 Proceedings:                  TELEPHONIC DISCOVERY CONFERENCE

        Case is called. Counsel state their appearances. The court and counsel confer as stated on the
record regarding the Joint Report filed on October 22, 2019 (Dkt. No. 87), particularly in light of the
discovery cut-off date of February 6, 2020. (See Order, Dkt. No. 58.)

         For the reasons stated on the record, IT IS ORDERED that:

         1.         Plaintiffs’ request for a further order on production of text messages, whatsapp messages,
                    etc. from the remaining 21 plaintiffs is DENIED AS PREMATURE. (Issue No. 1 in
                    Joint Report.) Defendant may raise this issue after production of responsive documents
                    from the seven individuals described in the October 4, 2019 order (Dkt. No. 69).

         2.         A telephonic status conference is set on October 30, 2019 at 4:00 p.m.

                    The conference will address the status of, and a date certain for, Defendant’s production
                    of documents. (Issue No. 4 on the Joint Report.) Defense counsel should be prepared to
                    address (a) production of documents not impact by the technical problems described on
                    the record, including documents Defendant gathered from third parties for production and
                    phones collected from certain employees; and (b) production of documents impacted by
                    the technical problems.

                    The conference may also address paragraph 6 below.

         3.         Plaintiffs’ request for an order requiring Defendant to add eight custodians (Kay Bradley,
                    John Collins, Aaron Heifetz, Pinky Raina, Tonya Wallach, Neil Buethe, Steve Hoffman,
                    and Michael Gressle) for Defendant’s production of electronically stored information
                    (“ESI”) is GRANTED IN PART as follows: (Issue No. 2 in Joint Report)


CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 3
 Case 2:19-cv-01717-RGK-AGR Document 91 Filed 10/23/19 Page 2 of 3 Page ID #:978

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.       CV 19-1717-RGK (AGRx)                                          Date    October 23, 2019
 Title          Alex Morgan, et al. v. United States Soccer Federation, Inc.

                 a.      Plaintiffs’ request to add Kay Bradley as a custodian is denied without prejudice
                         to Plaintiffs’ ability to renew their request after Defendant’s production of
                         responsive documents from her electronic marketing folder, which is given
                         priority and should be produced by October 26, 2019.


                 b.      Plaintiffs’ request to add John Collins as a custodian is denied. Defendant agreed
                         to add John Collins as a search term in connection with other search terms (and
                         not as a stand alone search term).

                 c.      Plaintiffs’ request to add Aaron Heifetz as a custodian is denied. Defendant
                         agreed that it would not call Mr. Heifetz as a witness at trial.

                 d.      Plaintiffs’ request to add Pinky Raina as a custodian is denied; provided,
                         however, that counsel shall confer as to specific categories of information to be
                         produced by Ms. Raina, who started in her CFO position in 2019.

                 e.      Plaintiffs’ request to add Tonya Wallach as a custodian is denied; provided,
                         however, that Defendant shall produce documents regarding employment benefits
                         provided or offered to female or male professional soccer players who play on the
                         United States Senior Women’s National Soccer Team or the United States Senior
                         Men’s National Soccer Team.

                 f.      Plaintiffs’ request to add Neil Buethe, Steve Hoffman and Michael Gressle as
                         custodians is denied without prejudice to Plaintiffs’ ability to renew their request
                         with a showing that information from their files is not likely to be cumulative of
                         information from a person on the existing custodian list or cumulative of
                         information already being produced by Defendant.

         4.      Defendant’s request for an order compelling Plaintiffs to review private social media
                 feeds and messages is denied without prejudice. (Issue No. 3 in Joint Report.) Plaintiffs
                 represent that each plaintiff either does not have a private social media feed or has a
                 private social media feed that contains no responsive information or duplicate
                 information in the public feed. “A [party’s] mere suspicion that additional documents
                 must exist does not warrant an order compelling production.” Boston v. Clubcorp USA,
                 Inc., 2019 U.S. Dist. LEXIS 72975, *21-*22 (C.D. Cal. Mar. 11, 2019). “Rather, the
                 moving party must have a colorable basis for its belief that relevant, responsive
                 documents exist and are being improperly withheld.” Id. at *22.

         5.      Plaintiffs’ request for an order compelling Defendant to produce collective bargaining
                 proposals exchanged in ongoing collective bargaining negotiations is denied as not
                 proportional to the needs of this case. (Issue No. 5 in Joint Report.) Defendant agreed to
CV-90 (06/04)                               CIVIL MINUTES - GENERAL                                   Page 2 of 3
 Case 2:19-cv-01717-RGK-AGR Document 91 Filed 10/23/19 Page 3 of 3 Page ID #:979

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.       CV 19-1717-RGK (AGRx)                                           Date      October 23, 2019
 Title          Alex Morgan, et al. v. United States Soccer Federation, Inc.

                 produce (a) the final collective bargaining agreement and (b) proposals exchanged if a
                 collective bargaining agreement is executed or agreed prior to trial in this action. The
                 court is not persuaded that, while negotiations are ongoing, the requested discovery
                 would be material or important to resolving the issues in this case. Plaintiffs have
                 information about collective bargaining agreements that are currently in effect or expired.
                 Plaintiffs’ argument that proposals exchanged in ongoing negotiations would evidence
                 Defendant’s state of mind is unconvincing and does not overcome the potential prejudice
                 of the proposed discovery. See Harvey’s Wagon Wheel, Inc. v. NLRB, 550 F.2d 1139,
                 1143 (9th Cir. 1976) (noting, in different context, “fear of exposing crucial material
                 regarding pending union negotiations”); Volume Servs., Inc. v. United Here, 2014 U.S.
                 Dist. LEXIS *8 (N.D. Cal. Jan. 28, 2014) (precluding discovery of ongoing “bargaining
                 demands or proposals” about certain topics); Berbiglia, Inc., 233 N.L.R.B. 1476, 1495
                 (1977) (“If collective bargaining is to work, the parties must be able to formulate their
                 positions and devise their strategies without fear of exposure.”).

         6.      The court set the following briefing schedule for Issue No. 6 in the Joint Report: On or
                 before October 28, 2019, the parties shall file briefs of no more than 7 pages regarding
                 Defendant’s motion to compel the production of documents related to Plaintiffs’ income
                 from their soccer-related activities outside the scope of their employment with USSF.
                 The court requests that the parties provide information about the compensation structure
                 for the women and men.

         7.      Issue No. 7 in the Joint Report is not ripe for decision by the court.

         IT IS SO ORDERED.




                                                                                          2       :     20
                                                             Initials of Preparer   kl




CV-90 (06/04)                               CIVIL MINUTES - GENERAL                                    Page 3 of 3
